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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
ORLANDO RILEY,                      )
            Plaintiff               )
                                    )
v.                                  )                 Civil Action No.: 1:15-CV-14137-DJC
                                    )
MASSACHUSETTS DEPARTMENT            )
 OF STATE POLICE                    )
            Defendant               )
____________________________________)

                  PLAINTIFF’S REQUEST FOR JURY INSTRUCTIONS

       Pursuant to Fed. R. Civ. P. 51(a), the plaintiff hereby requests that this Court instruct the

jury on his claims as described herein.

                                                      Respectfully submitted,

                                                      PLAINTIFF
                                                      Orlando Riley

                                                      By his attorneys,

                                                      /s/ Ellen J. Messing
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                                                      50 Congress St., 1000
                                                      Boston, MA 02109
                                                      (617) 742-0004
Dated: November 9, 2018
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1)     INTRODUCTION

       In this case, the plaintiff, Orlando Riley, makes a claim under a federal civil rights statute

that prohibits employers from discriminating against job applicants based on their race or color.

Specifically, Officer Riley claims that the defendant, the Massachusetts State Police, denied him

admission to its “80th Recruit Training Troop” or “80th RTT” because of his race or color by

relying on a biased background investigation conducted by Trooper Robert Lima. The defendant

denies that Officer Riley was discriminated against and asserts that he was not admitted because

he was dishonest during the background investigation.

       Throughout these instructions, when I refer to “the defendant” or “MSP,” I intend you to

understand that I am referring to the Massachusetts State Police.

       To succeed on his claim, Officer Riley must prove that it is more likely than not that the

defendant denied him admission to the 80th RTT because of his race or color.

       I will now instruct you more fully on the issues you must address in this case.


See McNamara and Southerland, Federal Employment Jury Instructions (Rev. Dec. 2012),
§3:100; Draft proposed Pattern Jury Instructions for Cases of Employment Discrimination
(Disparate Treatment) for the District Courts of the U.S. Court of Appeals for the First Circuit,
§1.1, at 8 (updated 4/10/12) (“1st Cir. Draft Jury Instructions”).




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2)     WHAT IS AND IS NOT EVIDENCE

       The evidence in this case consists of the sworn testimony of witnesses, both on direct and

cross-examination (and redirect and recross examination), and the exhibits that have been

received into evidence.

       Certain things are not evidence.

       Arguments and statements by lawyers are not evidence. The lawyers are not witnesses.

What they say in their opening statements and closing arguments is intended to help you

interpret the evidence, but it is not evidence. If the facts as you remember them from the

evidence differ from the way the lawyers have stated or will state them (or the way the Court has

referenced them), your collective memory of the facts should control.

       Questions by lawyers, standing alone, are not evidence. Again, the lawyers are not

witnesses. The question and the witness’s answer taken together are the evidence.

       Objections by lawyers are not evidence. Lawyers have a duty to their clients to object

when they believe a question is improper under the rules of evidence. You should not be

influenced by any objection or by my ruling on it and you should not speculate or guess about

what the answer might have been or what an exhibit might have said.

       Anything that I have excluded from evidence or ordered struck from the record and

instructed you to disregard is not evidence.

       Anything you may have seen or heard when the court was not in session is not evidence.

       You are to decide the case solely on the evidence received at trial.

       Also, during the course of the trial I may have made comments to the lawyers or spoken

to a witness concerning the manner of his or her testifying. Do not assume from anything that I

may have said that I have any opinion concerning any of the issues in this case. Except for my




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instructions to you on the law, you should disregard anything I may have said during the trial in

arriving at your own findings as to the facts.

Serabian v. SAP America, Inc., CA No. 16-cv-10501 (Sept. 27, 2018).




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3)     KINDS OF EVIDENCE: DIRECT AND CIRCUMSTANTIAL

       There are two kinds of evidence: direct and circumstantial. Direct evidence is evidence

that directly addresses the truth of a fact, such as testimony from an eyewitness that the witness

saw something. Direct evidence could be a simple assertion by someone, for example: "it is

raining outside." That is a statement of a fact observed. If you thought that person who said that

to you was truthful and had a sufficient basis for knowing what the weather was like outside, you

could accept the statement as direct evidence that it is raining outside. Alternatively, if you

doubted the reliability of the statement, you could reject it.

       Circumstantial evidence is indirect evidence, that is, proof of a fact or facts from which

you could draw the inference, by reason and common sense, that another fact exists, even though

it has not been proved directly. To illustrate an example of circumstantial evidence, let's return to

the prior example regarding the weather outside. Suppose that instead of having someone report

to you about the weather conditions, someone came in from outside wearing a wet raincoat and

shaking water off an umbrella. Without any words being spoken, that is, without any direct

statement or assertion being made, an observer might conclude that it was raining outside. The

observer would have some direct evidence to consider: the observations of a wet raincoat and a

dripping umbrella. Thinking about those pieces of direct evidence might lead the observer to

draw a conclusion, or an inference, about an unobserved fact: that it was raining.

       You are entitled to consider both kinds of evidence. The law permits you to give equal

weight to both or to give greater weight to one or the other. It remains for you to decide how

much weight to give to any evidence.

Serabian v. SAP America, Inc., CA No. 16-cv-10501 (Sept. 27, 2018).




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4)     INFERENCES

       Although you may consider only the evidence presented in the case, you are not limited

to the plain statements made by witnesses or contained in the documents. In other words, you are

not limited solely to what you saw and heard as the witnesses testified.

       You are also permitted to draw reasonable inferences from the facts, if you believe those

inferences are justified in light of common sense and personal experience. An inference is simply

a deduction or conclusion that may be drawn from the facts that have been established.

       Any inferences you draw must be reasonable and based on the facts as you find them.

Inferences may not be based on speculation or conjecture.

Serabian v. SAP America, Inc., CA No. 16-cv-10501 (Sept. 27, 2018).




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5)     CATEGORIES OF EVIDENCE

       There are different categories of evidence that you have before you. This evidence

includes exhibits and witness testimony. Let me instruct you about each of these

forms of evidence.

Serabian v. SAP America, Inc., CA No. 16-cv-10501 (Sept. 27, 2018).




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6)     EXHIBITS

       First, you have a number of exhibits. You will have the exhibits that have been

introduced in evidence during the course of the trial with you in the jury room. Many of these

exhibits have been shown to you in the course of the presentation of evidence, while others, I

believe, have not. You will have all of the exhibits entered into evidence, both those that have

been discussed and displayed and those that have not. You may consider the exhibits and give

them whatever value or significance in your deliberations as you think is appropriate.

Serabian v. SAP America, Inc., CA No. 16-cv-10501 (Sept. 27, 2018).




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7)     CREDIBILITY OF WITNESSES

       In addition to exhibits, you have the testimony of the witnesses.

       You do not have to accept the testimony of any witness if you find the witness not

credible. You must decide which witnesses to believe and which facts are true. To do this, you

must look at all the evidence, drawing upon your common sense and personal experience. You

may believe everything a witness says, or only part of it, or none of it. It is entirely up to you.

       You may want to take into consideration such factors as the witnesses' conduct and

demeanor while testifying; their apparent fairness or any biases they may have displayed;

relation to either party; any interests they may have in the outcome of the case; any prejudices

they may have shown; their opportunities for seeing and knowing the things about which they

have testified; and the reasonableness or unreasonableness of the events that they have described.

       The following are the kinds of questions you may want to consider in evaluating a

witness's credibility. Did the person seem honest? Did he or she have some reason not to tell the

truth? Did the witness have an interest in the outcome of the case? Did he or she gain any

personal advantage by testifying in this case? Did the witness seem to have a good memory? Did

the witness's testimony differ from his or her earlier testimony or from the testimony of other

witnesses? Was the witness's testimony different on cross and direct examination? What was the

witness's manner while testifying? These are some, but, of course, not all, of the kinds of things

that will help you decide how much weight to give to what each witness said.

       The mere number of witnesses or exhibits or the length of the testimony has no bearing

on what weight you give to evidence or on whether you find that the burden of proof has been

met. Weight does not mean the amount of the evidence. Weight means your judgment about the

credibility and importance of the evidence.




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Serabian v. SAP America, Inc., CA No. 16-cv-10501 (Sept. 27, 2018).




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8)      PRIOR INCONSISTENT STATEMENTS

        The testimony of a witness may be discredited or impeached by showing that he or she

previously made statements that are inconsistent with his or her present testimony. If a witness is

shown to have given inconsistent statements concerning any material matter, you have a right to

distrust that witness's testimony in other respects. You may reject all of the testimony of that

witness or give it such credibility as you may think it deserves.

        Sometimes, of course, people make innocent mistakes, particularly as to unimportant

details; not every contradiction or inconsistency is necessarily important. Again, you alone are

the judges of the witnesses' credibility.

        Some prior inconsistent statements may be used for purposes other than impeachment. If

you find that a witness has made inconsistent statements under oath on an earlier occasion, such

as in a deposition, you may consider that earlier statement for its truth or falsity, the same as any

testimony at the trial.

Serabian v. SAP America, Inc., CA No. 16-cv-10501 (Sept. 27, 2018).




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9)     WITNESS BIAS

       In deciding whether to believe a witness, you should specifically note any evidence of

positive or negative feelings that the witness may personally have towards either Officer Riley or

the State Police. Likewise, you should consider evidence of whether a witness has some interest

or motive for viewing one side more positively or negatively or for taking the part of one side or

the other. For example, if a witness is employed by one party or the other, that witness may feel

obligated to take the part of her or his employer.

       It is your duty to consider whether the witness has permitted any such bias or interest to

affect his or her testimony. In short, if you find that a witness is biased, you should view his or

her testimony with caution, weigh it with care, and subject it to close and searching scrutiny.

First Paragraph: Culbero v. Lee, 2014 U.S. Dist. LEXIS 176437, at *22-23 (S.D.N.Y. Sep. 30,
2014) (and cases cited) (employer-employee relationship between witness and party may lead to
bias). Accord, Charter v. Chleborad, 551 F.2d 246, 248 (8th Cir. 1977), as cited by Conde v.
Starlight I, 103 F.3d 210, 214 (1st Cir. 1997).

Second Paragraph: See Sand, Modern Federal Jury Instructions, Instruction 76-2 (Pub. 485,
Release 72A, April 2018) (hereinafter, “Sand Instructions”), citing Davis v. Alaska, 415 U.S.
308, 316 (1974), and charge of Judge Weinfeld in Powell v. Sealectro (S.D.N.Y 1964).




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10)    WITNESS INTEREST IN OUTCOME OF CASE

       In evaluating the credibility of the witnesses, you should take into account any evidence

that a witness may benefit in some way from the outcome of the case. Such interest in the

outcome creates a motive to testify falsely and may sway a witness to testify in a way that

advances her or his own interests. Therefore, if you find that any witness whose testimony you

are considering may have an interest in the outcome of this trial, then you should bear that factor

in mind when evaluating the credibility of her or his testimony, and accept it with great care.

       Keep in mind, though, that it does not automatically follow that testimony given by an

interested witness is to be disbelieved. There are many people who, no matter what their interest

in the outcome of the case may be, would not testify falsely. It is for you to decide, based on

your own perceptions and common sense, to what extent, if at all, the witness’s interest has

affected his or her testimony.

See Sand Instructions, 76-3, citing Davis v. Alaska, 415 U.S. 308, 316 (1974), and charge of
Judge Weinfeld in Powell v. Sealectro (S.D.N.Y 1964).




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11)    EXPERT WITNESS

       In this case, I have permitted Dr. Wiesen to testify to an opinion on those matters about

which he has special knowledge, skill, experience, and training. Such testimony is presented to

you on the theory that someone who is experienced and knowledgeable in the field can assist you

in understanding the evidence or in reaching an independent decision on the facts.

       In weighing Dr. Wiesen’s testimony, you may consider his qualifications, opinions,

reasons for testifying, as well as all of the other considerations that ordinarily apply when you

are deciding whether or not to believe a witness’s testimony. You may give the opinion

testimony whatever weight, if any, you find it deserves in light of all the evidence in this case.

You should not, however, accept opinion testimony merely because I allowed Dr. Wiesen to

testify concerning his opinion. Nor should you substitute it for your own reason, judgment, and

common sense. The determination of the facts in this case rests solely with you.

See Sand Instructions, 76-9.




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12)    NOTE-TAKING/NO TRANSCRIPT

       As I indicated at the beginning of the trial, you were permitted to take notes, but some

cautions apply as you begin your deliberations. You should bear in mind that not everything that

is written down is necessarily what was said. Thus, when you return to the jury room to discuss

the case, do not assume simply because something appears in somebody's notes that it

necessarily took place in court. Notes are an aid to recollection, nothing more; the fact that

something is written down does not mean that it is necessarily accurate. Your collective memory

of the evidence, not any of your notes, control.

       As I instructed at the beginning of the case, you will not be given a transcript of the trial.

Since you will not have a transcript, you should rely on your collective memory of the evidence.

Serabian v. SAP America, Inc., CA No. 16-cv-10501 (Sept. 27, 2018).




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13)    BURDEN OF PROOF–PREPONDERANCE OF EVIDENCE

       The party with the burden of proof on any given issue must prove every disputed element

of his or its claim to you by a preponderance of the evidence. In this case, Officer Riley has the

burden of proving that he was discriminated against because of his race or color.

       What does a “preponderance of evidence” mean? To establish a fact by a preponderance

of the evidence means to prove that the fact is more likely true than not true. A preponderance of

the evidence means the greater weight of the evidence. It refers to the quality and persuasiveness

of the evidence, not to the number of witnesses or documents. In determining whether a claim

has been proved by a preponderance of the evidence, you may consider the relevant testimony of

all witnesses, regardless of who may have called them, and all the relevant exhibits received in

evidence, regardless of who may have produced them.

       The party with the burden of proof need prove no more than a preponderance of the

evidence. So long as you find that the scales tip, however slightly, in favor of the party with this

burden of proof—that what the party claims is more likely true than not true—then that element

will have been proved by a preponderance of the evidence. On the other hand, if you find that the

credible evidence on a given issue is evenly divided between the parties—that is equally

probable that one side is right as it is that the other side is right—then you must decide that issue

against the party having this burden of proof. That is because the party bearing this burden must

prove more than simple equality of evidence—he must prove the element at issue by a

preponderance of the evidence.

       Some of you may have heard of proof beyond a reasonable doubt, which is the proper

standard of proof in a criminal trial. That requirement does not apply to a civil case such as this




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and you should put it out of your mind.


See Sand, Modern Federal Jury Instructions, Instruction 73-2 (Pub. 485, Release 72A, April
2018) (hereinafter, “Sand Instructions”), citing Romano v. U-Haul Int’l, 233 F.3d 655 (1st Cir.
2000).




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14)    TITLE VII OF THE CIVIL RIGHTS ACT, 42 U.S.C. §2000e-2 et seq.

       I am now going to instruct you on the law relevant to this case. Title VII of the Civil

Rights Act of 1964 makes it illegal for employers to discriminate against potential employees on

account of their race and/or color.

       These laws were enacted by Congress to prohibit race discrimination in employment, to

assure equality of employment opportunities, and to eliminate those discriminatory practices and

devices which have fostered racially stratified job environments to the disadvantage of minority

citizens. Title VII aims to eradicate discrimination throughout the economy and make people

whole for injuries suffered from past discrimination.


See Gebser v. Lago Vista Indep. Sch. Dist., 524 U.S. 274 (1998); Harris v. Forklift Sys., Inc.,
510 U.S. 17, 21 (1993); Meritor Sav. Bank v. Vinson, 477 U.S. 57, 66-67 (1986); Johnson v.
Railway Express Agency, Inc., 421 U.S. 454 (1975); McDonnell Douglas Corp. v. Green, 411
U.S. 792 (1973).




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15)    RACE AND COLOR DISCRIMINATION – CAUSATION

       Officer Riley has the burden of proof on his claim for race and color discrimination. This

means that you may find for Officer Riley on his claim of race discrimination if you find by a

preponderance of the evidence that MSP denied him admission to the 80th RTT because of his

race or color. It is not necessary for Officer Riley to prove that his race or color were the only

reason for MSP’s actions.

       You may decide that other factors were involved as well in MSP’s decision-making

process. In that event, in order for you to find for Officer Riley, you must find that he has

proven that, although there were other factors, he would not have been denied employment

without the race or color discrimination.


First Paragraph: See McNamara and Southerland, Federal Employment Jury Instructions,
§3:102; 1st Cir. Draft Jury Instructions, §1.1, at 8 and 11, citing Carey v. Mt. Desert Island
Hosp., 156 F.3d 31, 39 (1st Cir. 1998) (Title VII) (instruction “requiring [a verdict for the
defendant] if any reason other than gender played, however minimal, a part” in the challenged
employment decision places too heavy a burden on plaintiff); and Hazen Paper Co. v. Biggins,
507 U.S. 604, 617 (1993) (ADEA) (“Once a ‘willful’ violation has been shown, the employee
need not additionally demonstrate that the employer's conduct was outrageous, or provide direct
evidence of the employer’s motivation, or prove that age was the predominant, rather than a
determinative, factor in the employment decision.” (emphasis added)).

Second Paragraph: See 1st Cir. Draft Jury Instructions, §1.1, at 8 and 11.




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16)    CAUSATION – PRETEXT

       In order to succeed on his discrimination claim, Officer Riley must persuade you, by a

preponderance of the evidence, that were it not for race or color discrimination, he would have

been admitted to MSP’s 80th Recruit Training Troop. You should consider the believability of

MSP’s explanation for his rejection and determine whether it was a cover-up or pretext for

discrimination. “Pretext” means false or, though true, not the real reason for the action taken.

       There are various types of evidence that you could use to conclude that MSP’s stated

reason for not admitting Officer Riley is in fact a pretext. For example, “when an employer

provides ‘different and arguably inconsistent explanations’ for rejecting an employee, a … jury

may infer (but need not) that the articulated reasons are pretextual.”

       You may also consider evidence that MSP’s background investigation process was

susceptible to racial bias because it was ad hoc, subjective and lacking in standards.

       You may also consider statistical evidence that African American candidates failed the

background investigation stage of the admission process to the 80th RTT at a disproportionately

higher rate than white candidates.

       You may also consider evidence that those involved in the decision plaintiff challenges

were untruthful, misstated or distorted facts of importance to that decision.


First Paragraph: See 1st Cir. Draft Jury Instructions, §1.1, at 8 and 13, citing DeCaire v.
Mukasey, 530 F.3d 1, 20 (1st Cir. 2008) (“To the extent the district court said it required
DeCaire to present evidence beyond disproving the government’s arguments as pretext, that was
error.” (emphasis in original)).

Second Paragraph: Riley v. Mass. Dep’t of State Police, 2018 U.S. Dist. LEXIS 87059, at *26
(D. Mass. May 24, 2018), quoting Dominguez-Cruz v. Suttle Caribe, Inc., 202 F.3d 424, 432 (1st
Cir. 2000).

Third Paragraph: Riley v. Mass. Dep’t of State Police, 2018 U.S. Dist. LEXIS 87059, at *27
(D. Mass. May 24, 2018), citing Garrett v. Hewlett-Packard Co., 305 F.3d 1210, 1218 (10th Cir.



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2002).

Fourth Paragraph: Id., at 18, citing McMillan v. Mass. Soc. For Prevention of Cruelty to
Animals, 140 F.3d 288, 303 (1st Cir. 1998).

Fifth Paragraph: See id., at 19.




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17)    CONSIDER TOTALITY OF EVIDENCE TO DETERMINE LIABILITY

       In determining whether Officer Riley has suffered race discrimination, you must look at

all of the evidence presented, both direct and circumstantial. Do not assess the evidence before

you in isolation. From all the evidence you have heard and seen, you must form your own

judgment about whether it is more likely than not that Officer Riley suffered race or color

discrimination.


See Sand Instructions, 73-2, 78-3; Faragher v. City of Boca Raton, 524 U.S. 775, 787 (1998);
Harris v. Forklift Sys., Inc., 510 U.S. 17, 22-23 (1993).




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18)    EMPLOYER LIABILITY

       If you find that MSP Trooper Lima was acting within the scope of his employment in

conducting and reporting on his background investigation of Officer Riley, you must find that

MSP is responsible for his actions.


See Howard v. Univ. of S. Miss., 1980 U.S. Dist. LEXIS 17102, at *1-3, *17-18 (S.D. Miss.
Apr. 17, 1980) (where employer’s screener discriminatorily discouraged plaintiff applicant,
employer liable; relief denied on unrelated grounds); McGarry v. Bd. of County Commrs., 175
F.3d 1193, 1199-1200 (10th Cir. 1999) (conclusions in report by employee, who investigated
plaintiff’s non-hire, constitute evidence within scope of employee-investigator’s agency;
considered against employer); Williams v. Nashville Network, 132 F.3d 1123, 1126, 1131-33
(6th Cir. 1997) (employer liable under Title VII for judgment as a matter of law where non-
supervisory staffer screened out applicant). See generally Restatement (Third) of Agency, §7.07
(respondeat superior liability of principal for acts of its agent acting within the scope of his
agency); 42 U.S.C. § 2000e(b) (term “employer” in Title VII includes agent); Indest v. Freeman
Decorating, 164 F.3d 258, 262 (5th Cir. 1999) (Title VII incorporated “agent” into “employer”
definition in Title VII in order to incorporate respondeat superior liability, citing cases from two
federal circuits); Jimenez v. Dyncorp. Intl., LLC, 635 F. Supp. 2d 592, 601-02 (W.D. Tex. 2009)
(applying agency principles to determine employer liability under Title VII).




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19)      DAMAGES

         The law recognizes that victims of discrimination suffer damages. This means that if you

find that MSP discriminated against Officer Riley, then you must award him such sum as you

find by the preponderance of the evidence will fairly and justly compensate him for any damages

you find he sustained as a direct result of MSP’s decision to fail to hire him.

         The purpose of an award of such damages is to make Officer Riley whole for all the

losses that he has suffered because of the defendant’s unlawful discrimination. The object is to

try to restore the person to the position he would have been in had the wrong not occurred.

Damages are to be awarded to the plaintiff as a fair and reasonable compensation for the legal

wrong done to him by the defendant. Officer Riley bears the burden of proof on damages.

         The fact that I instruct you on damages does not represent any view by me that you

should or should not find MSP liable. I am giving you these instructions for your guidance so

that you will have guidance should you decide that Officer Riley is entitled to recovery.

      If you find that MSP unlawfully discriminated against Officer Riley, then you may award

damages in the following three areas:

      1. Back pay;*

      2. Front pay;* and

      3. Emotional distress.

      I will explain each to you.


*
  Plaintiff has moved in his Motion in Limine to Exclude After-Acquired Evidence of Alleged Misconduct (Doc.
195), in the alternative, that if this Court determines that defendant’s proposed after-acquired evidence is deemed
admissible, then it should be considered only by the Court in the exercise of the Court’s equitable power to award
back and front pay. It should not be presented to the jury because it is highly prejudicial, and would have no
probative value if the Court decides back and front pay. Should this Court agree, then the portion of this instruction
referencing back and front pay, and the following proposed jury instructions regarding back pay (instruction 19),
front pay (instruction 20) and after-acquired evidence (instruction 21) need not be given, since this Court will
determine those categories of damages. However, should this Court rule otherwise, then plaintiff requests that the
entirety of this and proposed jury instructions 19, 20 and 21 be read to the jury as well.


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See 42 U.S.C. §§ 1981a, 2000e-5; Serabian v. SAP America, Inc., CA No. 16-cv-10501 (Jury
Instructions Sept. 27, 2018), at 23; 1st Cir. Draft Jury Instructions, §9.1, at 53; Sand Instructions,
77-1, 88-70.




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20)       BACK PAY

          If you find that MSP discriminated against Officer Riley, Officer Riley is entitled to

recover back pay. The measure of the back pay is determined by what Officer Riley would have

earned but for the violation—here, the failure to admit him to the 80th RTT. To calculate back

pay, you must look to the evidence introduced concerning what Officer Riley would have earned

or other monies and value of benefits he would have received had he been hired by the State

Police.

      To determine the amount of back pay, you must make several calculations:

      1. First, determine the amount of income Officer Riley would have earned between 2011

          and today had he been admitted to the 80th Recruit Training Troop.

      2. Then, determine the value of the employee benefits Officer Riley would have had if he

          had been admitted in 2011.

      3. Then, subtract the amount Officer Riley actually earned, and the value of the employee

          benefits he received in the job in which he worked, between 2011 and today.


See McNamara and Southerland, Federal Employment Jury Instructions, §1:1270.




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21)    FRONT PAY

       If you find that MSP discriminated against Officer Riley, you may award Officer Riley

any future pay and benefits that you are reasonably certain he would have earned while he was

employed by the MSP from the date of trial for as long into the future as you think reasonable.

       If you decide that Plaintiff is entitled to front pay, you should make reasonable estimates

based on the evidence concerning the amount of future pay and benefits that Officer Riley would

have received between now and the date in the future you think is reasonable, less the value of

compensation that you project he will earn from other employment over the same time period.

       If you award damages to plaintiff for losses he will suffer in the future, keep in mind that

plaintiff cannot be awarded damages that overcompensate the losses that he suffered because of

MSP’s conduct. To avoid overpaying plaintiff, you must consider that the amount of money you

give plaintiff today for future losses can be put in the bank, where it can earn interest. So, in

making an award for future damages, you must determine the amount of money that, if invested

today at a reasonable rate of interest, would in the future provide Plaintiff with the amount of

money that you calculated he will lose in the future as a result of SAP' s conduct. You should,

however, not consider any interest on damages in calculating any damages others than in

calculating any future pay award as I have just explained.


Serabian v. SAP America, Inc., CA No. 16-cv-10501 (Jury Instructions Sept. 27, 2018), at 25-26.




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22)    AFTER-ACQUIRED EVIDENCE

       MSP contends that Officer Riley intentionally failed to disclose in his application to the

80th Recruit Training Troop that he was the subject of a 2006 citizen complaint against him and

another New Bedford officer, that if he had been employed at the time that MSP discovered this,

it would have terminated him, and therefore that the MSP should not have to pay any back pay

damages after that date.

       MSP has the burden of proof on this defense. MSP must prove, by a preponderance of

the evidence, that in the absence of bias it would have found that Officer Riley intentionally

withheld information about the 2006 citizen complaint. Second, MSP must prove that, in the

absence of bias and under its actual employment practices at the time of discovery, it would have

terminated Officer Riley because of this non-disclosure.

       If you find that MSP has proved both elements by a preponderance of the evidence, you

should limit any award of back pay to the period between the date Officer Riley was denied

admission and the date you find that MSP would have terminated Officer Riley as a result of

discovering the 2006 citizen complaint.


See 1st Cir. Draft Jury Instructions, §9.1, at 54, 57; McKennon v. Nashville Banner Publ. Co.,
513 U.S. 352, 361-62 (1995); O’Neill v. Runyon, 898 F. Supp. 777, 781 (D. Colo. 1995). See
also Miranda v. Deloitte LLP, 962 F. Supp. 2d 379, 386-87 (D.P.R. 2013)(when evaluating
question of after-acquired evidence, courts must look to employer’s actual employment practices
and not just the standards outlined in its personnel manuals); Palmquist v. Shinseki, 729 F. Supp.
2d 425, 429 (D. Me. 2010)(for employer to obtain benefit of after-acquired evidence doctrine,
employer must establish “not only that it could have fired an employee for the later-discovered
misconduct, but that it would in fact have done so”), quoting O’Day v. McDonnell Douglas
Helicopter Co., 79 F.3d 756, 759 (9th Cir. 1996).




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23)    EMOTIONAL DISTRESS AND SUFFERING

       In addition to calculating any lost wages, you must determine what other loss, if any,

Officer Riley has suffered or will suffer in the future caused by any race or color discrimination

that you find MSP has committed under the instructions I have given you. We call these

compensatory damages. You may award compensatory damages for emotional pain, suffering,

inconvenience, mental anguish, loss of enjoyment of life, loss of reputation, humiliation, and

other noneconomic losses if you determine that Officer Riley has proven by a preponderance of

the evidence that he has experienced any of these consequences as a result of race or color

discrimination by defendant No evidence of the monetary value of intangible things like

emotional pain, suffering, inconvenience, mental anguish, loss of enjoyment of life and other

noneconomic losses is available, and there is no standard I can give you for fixing any

compensation to be awarded for these injuries. Even though it is obviously difficult to establish

a standard of measurement for these damages, that difficulty is not grounds for denying a

recovery on this element of damages. You must, therefore, make the best and most reasonable

estimate you can, not from a personal point of view, but from a fair and impartial point of view,

of the amount of emotional pain, suffering, inconvenience, mental anguish, loss of enjoyment of

life, loss of reputation, humiliation, and other noneconomic losses you find that Officer Riley has

undergone and can probably be expected to suffer in the future as a result of MSP’s conduct.

And you must place a money value on this, attempting to come to a conclusion that will be fair

and just to both of the parties. This will be difficult for you to measure in terms of dollars and

cents, but there is no other rule I can give you for assessing this element of damages.


See 1st Cir. Draft Jury Instructions, §9.1, at 53.




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24)    PREJUDGMENT INTEREST

       If you find that MSP discriminated against Officer Riley and that Officer Riley is entitled

to damages, you may award him prejudgment interest on his back pay and emotional distress

awards. Prejudgment interest is calculated from the date Officer Riley was notified that he was

not being hired until the date that I enter my final judgment after your verdict in this case.

Prejudgment interest should be awarded in an amount that you determine is appropriate to make

Officer Riley whole and to compensate him for the time between when he was injured and the

day of your verdict. It is entirely up to you to determine the appropriate rate and amount of any

prejudgment interest you decide to award.


See 1st Cir. Draft Jury Instructions, §9.1, at 53, 56; Tobin v. Liberty Mut. Ins. Co., 553 F.3d 121,
147-48 (1st Cir. 2009); Conway v. Electro Switch Corp., 825 F.2d 593, 602 (1st Cir. 1987).




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25)    SPECIAL VERDICT FORM

       I have prepared a special verdict form for you to use in recording your decision. The

special verdict form is made up of questions concerning the important issues in this case. You

must answer these questions with either a “yes” or “no.” Your answers must reflect your

conscientious judgment. You should answer every question unless the verdict form indicates

otherwise.


See Sand Instructions, 78-9.




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                                 CERTIFICATE OF SERVICE

        I, James S. Weliky, hereby certify that this document, filed through the ECF system, will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants, on
November 9, 2018.

                                               /s/ James S. Weliky_________________
                                               James S. Weliky, Esq.

Dated: November 9, 2018




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